    Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 1 of 11 PageID #: 512
                                     EXHIBIT D
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 6:18-cv-00604

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

      This summons for (name of individual and title, if any) He GangPeng was received by me on (date) Mar 11, 2020,
9:30 pm.


        D       I personally served the summons on the individual at (place)                             on (date)
                                         ; or
                ---
                I left the summons at the individual’s residence or usual place of abode with (name)                             ,a
        □ person of suitable age and discretion who resides there, on (date)                                  , and mailed a copy
                to the individual’s last known address; or

        D       I served the summons on (name of individual)                              , who is designated by law to accept
                service of process on behalf of (name of organization)                            on (date)
                                        ; or
          X     I returned the summons unexecuted because: I spoke with the current homeowner, Mrs. Grissom, she stated she



                ===============
                never heard of the defendant and has been living at the address since 1980. I asked her if she knew any other of
                the neighbors across the street or next door who may be the defendant. Mrs. Grissom stated no one that she
                knew with the name "Gangpeng" lives near her residence. I asked Mrs. Grissom about the street type, she stated
        D       about 4-5 years ago the street she currently lives on was Road but converted to Street. The following vehicle
                was parked in the driveway: TX Tag 5FYDT registered to RICKIE GRISHAM ; or

        D       Other:                              ; or

        My fees are $                               for travel and $                       for services, for a total of $
                                   .

        I declare under penalty of perjury that this information is true.



Date: 03/12/2020



                                                                                         Server's signature
                                                                   Mauricio Segovia, Process Server PSC-1689
                                                                                       Printed name and title


                                                                   400 N ERVAY ST #131122, DALLAS, TX 75201-3112
                                                                                          Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Mar 12, 2020, 1:48 pm CDT at HOME: 902 AUGUSTA ST, RED OAK, TX 75154-2308
[Mobile Home Community]
I spoke with the current homeowner, Mrs. Grissom, she stated she never heard of the defendant and has been living at the
address since 1980. I asked her if she knew any other of the neighbors across the street or next door who may be the
defendant. Mrs. Grissom stated no one she knew with that name lives near her residence. I asked Mrs. Grissom about the street
type, she stated about 4-5 years ago the street was Road but converted to Street.

The following vehicle was parked in the driveway: TX Tag 5FYDT registered to RICKIE GRISHAM
   Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 2 of 11 PageID #: 513
                                     EXHIBIT D
                             AFFIDAVIT OF NON-SERVICE


State of Texas                                              County of                                           United States District Court Court

Case Number: 6: 18-CV-00604

Plaintiff:
VIAHART LLC
                                                                                                                 111
                                                                                                                  1111111111111111   I
                                                                                                                           IIllIIIIII II II
                                                                                                                         PNL2020000480
                                                                                                                                               Ill
vs .
Defendant:
DOES 1-54

Received by JSSI Process Server on the 24th day of March, 2020 at 1:22 pm to be served on HU QI BO, 9346 WILLIAMS
GLEN COVE, GERMANTOWN, TN 38139.

I, OTHNIEL PENN, being duly sworn, depose and say that on the 24th day of March, 2020 at 4:55 pm, I:

NON-SERVED the SUMMONS IN CIVIL ACTION; AMEND COMPLAINT because the Defendant is unknown at the
address furnished by the attorney .

Additional Information pertaining to this Service:
3/24/2020 4:54 pm SERVICE COMPLETE at 9346 WILLIAMS GLEN COVE , GERMANTOWN , TN 38139, Defendant is
unknown. Spoke with white male, 55, who said he does not know defendant.


I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server , in good
standing, in the judicial circuit in which the process was served. I have personal knowledge of the facts stated herein and
they are true and correct.




                                                                                        OTHNIELPE
Subscribed and Sworn to before me on                                                    PROCESS SERVER # B-233
         (o   day of       ~-      1c) Z0                                               JSSI Process Server
by the    .        .
                                                                                        3485 Poplar Aveune
me or                                                                                   Suite 207
                                                                                        Memphis, TN 38111
                                                                                        (901) 324-7006

                                                                                         Our Job Serial Number: PNL-2020000480
                                                                                         Ref: 6:18-CV-00604


                                                    0 Database Services, Inc. - Process Serve(s Toolbox V8.1c
    Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 3 of 11 PageID #: 514
                                     EXHIBIT D
AO 440 (Rev. 06/ 12) Summon s in a Civil Action (Page 2)

 Civil Action No . 6:18-cv-00604

                                                        PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name o_findividual and title, if any)                      _hB5hnyDV
                                                                          'JOt}eY1~ ___ S
 was received by me on (date)               yc!,h\7 , 0:0i).:Q
                                         ty\C)                                             \
           0 I personally served the summons on the individual at (place)
                                                                                    on (date)                              ; or

           0 I left the summons at the individual ' s residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
           on (date)                                 , and mailed a copy to the individual ' s last known addre ss; or

           0 I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                    on (date)                              ; or

          "/JI returned the summons unexecuted because                  LLno__hl.e
           0 Other (sp ecif}):




           My fees are $                             for travel and $                   for services , for a total of$            0.00


           T declare under penalty of perjury that this information is true.



Date:
                                                                                                Server 's signature


                                                                         ~n_}fj~✓           Print ed name and ciile
                                                                                                                      VYl) Lc'56         ~

                                                                    170) 3

Additional information regarding attempted service, etc :
  Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 4 of 11 PageID #: 515
                                   EXHIBIT D
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 6:18-cv-00604-RWS-KNM

                                                      PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

        This summons for (name of individual and title, if any) Chen Jian was received by me on (date) Mar 18, 2020, 9:33
am.

       D        I personally served the snmmons on the individual at (place) _________                  on (date)
                _________                   ; or
       D        I left the snmmons at the individual's residence or usual place of abode with (name) _________               ,a
                person of suitable age and discretion who resides there, on (date)                        , and mailed a copy
                to the individual's last known address; or
       D        I served the snmmons on (name of individual) _________                    , who is designated by law to accept
                service of process on behalf of (name of organization)                            on ( date)
                _________               ; or
       [KJ      I returned the summons unexecuted because: Per Asian male in his 30's, there is no nan Chen that works at the
                location provided. ; or
       D        Other: Per Asian male in his 30's, there is no Jian Chen that works at the location provided. ; or


       My fees are $                                for travel and $                      for services, for a total of $
                       ---------                                       ---------

       I declare under penalty of perjury that this information is true.



Date: 4/712020




                                                                  William Mendoza L.A. co. RPs,201s21,179
                                                                                      Printed name and title


                                                                  Thomas Court Services 4834 Swiss Ave. Dallas, TX 75204
                                                                     214-220-0226
                                                                                         Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Apr I, 2020, 2:06 pm PDT at 1460 S Archibald Ave, Ontario, CA 91761
Per Asian male in his 30's, there is no Jian Chen that works at the location provided.
   Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 5 of 11 PageID #: 516
                                    EXHIBIT D
 ATTORNEY    OR PARTYWITHOUTATTORNEY (Name,StateBar number,and address)                                                  FORCOURTUSEONLY
 Creedon PLLC
 3001 Dallas Parkway, Suite 570
 Fri sco, Texas 75034
            TELEPHONE NO:                             FAXNO (OpdonaQ:
 E-MAIL ADDRESS(OpcionaQ:
      ATTORNEY  FOR(Name): Plaintiff
 UNITEDSTATESDISTRICTCOURT,EASTERN DISTRICTOFTEXAS
  STREETADDRESS: 211 w Ferguson St
 MAILINGADDRESS: 211 W Ferguson St
 CITYAND ZIPCODE: Tyler, TX 75702
    BRANCHNAME: United States District Court
    PLAINTIFF/PETITIONER: Viahart LLC                                                                    CASENUMBER:
 DEFENDANT/RESPONDENT:Deng Qiu Ju                                                                        6: 18-cv-00604-RWS-KNM
                                                                                                         Ref. No. or File No.:
                                  DECLARATION OF DILIGENCE


I received the within assignment for filing and or/service on 3/16/2020: and that after due and diligent effort I have been unable to serve said
person. I attemp te d service on this servee on the following dates and times:


Servee and Address:    Deng Qiu Ju
                       Business: 7626 Miramar Rd Ste. 3200, san Diego, CA 92 126
Documents:             Distric t Court Summons; Amended Complaint

As enumerated below:
Attempt Mar 17, 2020, 11 :36 am at: 7626 Miramar Rd Ste. 3200, San Diego, CA 92126

Made contact with occupant doing business in Ste. 3200 . Brian Selden (Male, White, 25-30 y/o, 5 '4 "), owner of Conscious water business says th at he
has leased this unit for several months. Oaims th at he has received mail at his address for the defendant Deng Qiu Ju. No forwarding address
provided.



I declare under penalty of perjury that the foregoing is true and correct and that this declaration was executed on March 17, 2020




                                                                             a ~J~
                                                                             ~~'
                                                                                               1

                                                                                San Diego County Registered Process
                                                                                                                                 ~11712020
                                                                                                                                     Date


                                                                                Server No. 341 1

                                                                               2300 EValley Pkwy # 139
                                                                               Escondido, CA 92027
                                                                               858.255 .4070




                                                             DECLARATIONOF DILIGENCE
Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 6 of 11 PageID #: 517
                                 EXHIBIT D
                                                        AFFIDAVIT OF NON-SERVICE

 Case:         Court :                                                  County:                              Job:
 6:19-cv-      UNITED STATESDISTRICTCOURT FOR EASTERN                                                        4430427
 00604         DISTRICTOF TEXAS
 Plaintiff/ Petitioner :                                                Defendant I Respondent:
 VIAHART LLC                                                            DOES 1-54
 Received by:                                                           For:
 Margaret Ruddock                                                       Edison Litigation Financing LLC
                                                    .
 To be served upon :
 Vinvin Zhu

I, Margaret Ruddock, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and infonmed said person of
the conten ts herein

Recipient Name I Address:    Vinvin Zhu , COMPANY: 4225 Phil Niekro Parkway 102, Norcross, GA 30093
Manner of Service:           Unsuccessful Attempt
Documents :                  SUMMONS IN A CIVIL ACTION and Amended Complaint (Received Mar 19, 2020 at 2:25afn EDT)

Additional Comments :
1) Unsuccessful Attempt: Mar 19, 2020, 1:44 pm EDT at COMPANY: 4225 Phil Niekro Parkway 102, Norcross, GA 30093
Bad address . This is a commercial lot with most of the suites vacant and few vehicles in the parking lot. Suite #102 was vacant with two
pieces of mail in the box . Server spoke to the business in suite #104 who told server that the business left about five years ago and he
does n~now       where they went.


                                                                          Subscribed and sworn to before me by the affiant who is
    Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 7 of 11 PageID #: 518
                                     EXHIBIT D
                                                       AFFIDAVIT OF NON-SERVICE

 Case:
 6:18-cv-00604
                     ICourt:
                      US District Court Eastern District of TX
                                                                       County:
                                                                       Tyler Division
                                                                                                               IJob:
                                                                                                                4424831
 Plaintiff/ Petitioner:                                                Defendant I Respondent:
 VIAHART, LLC                                                          DOES1-54
 Received by:                                                          For:
 Walton Investigations                                                 Edison Litigation Financing LLC
 To be served upon:
 Thomas

I, David Brady, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/ Address:      Thomas , Home : 205 Park Ave, Rhodhiss, NC 28867
Manner of Service:            Bad Address
Docume,'1ts:                  DOES 1-54 Amended Complaint (5).pdf (Received Mar 18, 2020 at 8:30am EDT),Thomas Summons .pdf
                              (Received Mar 18, 2020 at 8:30am   rnn
Additional Comments:
1) Unsuccessful Attempt: Mar 19, 2020, 3:14 pm EDT at Home : 205 Park Ave, Rhodhiss, NC 28867
I spoke to Caroline Sterlin and she stated that no Thomas lived on the premises . I made two attempts, the first no one was home. The
second they were having a family gathering .


                                                                         ACKNOWLEDGMENT
                                                                         North Carolina   Gui
                                                                                            !fovJ             County
                                                                         1,Af
                                                                           n l j). LUi
                                                                                    1{19
                                                                                       rr&,rt4otary
                                                                                                 Public for said
                                                                         Co nty and State, do hereby certify that
                                                                         David Brady personally appeared before me this day and
Walton Investigations
P.O. Box 8246                                                            acknowledged the due execution of the attached
Greensboro,NC 27407-8246                                                 Summons VIAHART, LLC VS Thomas
336-550-4446
                                                                         Witness my hand and official seal, this thed-3         (( ~
                                                                                                                      day of J'Y"b,
                                                                         2oe9




                                                                                        AprilD.WIiiiamson
                                                                                        NOTARY  PUBLIC
                                                                                        Guilford
                                                                                               County,
                                                                                                     NC
                                                                              MyCommission
                                                                                       Expires
                                                                                            August
                                                                                                26,2022
DocuSign Envelope ID: 420A6EC8-8A1D-41BF-AA5A-01AB6FE529DC
        Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 8 of 11 PageID #: 519
                                         EXHIBIT D
    AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

    Civil Action No. 6:18-cv-00604-RWS-KNM

                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any) Qi Yun Yun was received by me on (date) Mar 18, 2020, 9:33
    am.


            D       I personally served the summons on the individual at (place)                            on (date)
                                             ; or

            D       I left the summons at the individual’s residence or usual place of abode with (name)                             ,a
                    person of suitable age and discretion who resides there, on (date)                            , and mailed a copy
                    to the individual’s last known address; or

            D       I served the summons on (name of individual)                             , who is designated by law to accept
                    service of process on behalf of (name of organization)                           on (date)
                                            ; or

            DX      I returned the summons unexecuted because: Defendant is not located here. ; or

            D       Other:                              ; or

            My fees are $                               for travel and $                      for services, for a total of $
                                       .

            I declare under penalty of perjury that this information is true.



    Date: 03/20/2020



                                                                                             Server's signature
                                                                       Elias Elhayek
                                                                                          Printed name and title


                                                                       Thomas Court Services 4834 Swiss Ave. Dallas, TX 75204
                                                                          (214) 220-0226
                                                                                             Server's address

    Additional information regarding attempted service, etc.:
    1) Unsuccessful Attempt: Mar 19, 2020, 3:03 pm PDT at 15364 Valley Blvd, City Of Industry, CA 91746
    Per Lilly Fan. Finance Manager of ALPS LA, NBC Transportation and Elite Technology she said that their company just
    moved in last June to this address and they do not know of anyone with this name. The owner of these 3 Companies last name
    Is Zhao
Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 9 of 11 PageID #: 520
                                 EXHIBIT D




                                 INVESTIGA
                                         TIYEDUEDILIGENCEAFFIDAVIT
                                 United State s District Court for the Eastern District of Texas

Viah a rt LL C                                                  Attorney: NONE
                 Plaintiff(s),                                  Mike Hart
vs.                                                             132 1 Upland Drive Suite 6481
                                                                Houston TX 77043

DOES 1-54
                 Defendant(s).                                        111I IllIIIllII IllIIIl l l lI IllII II
Case Number: 6:18-cv-00604

Legal documents received by Same Day Process Service, Inc. was requested to provide an affidavit of due diligence for
subjl!ct(s). Guangwu Li on 03/ 11/ 2020 at 9:29 AM at 2425 Blueridge Ave Apt 204, Silve r Sprin g, MD 20902

The undersigned, swear ancl affirm that on March 16, 2020 at 7:56 PM. l did the fo llowing:

NO -SERVED: After careful inquiry and diligent attempts, l was unable to serve Guangwu Li the Summons in a
Civil Action; Amended Complaint; Exhibits for the rcason(s) indicated in the com ments below:

Dateff ime                 Address                              Remark s
                                                                Upon my arrival. I proceede d towards the residence and
                                                                began knocki ng on the front door for 15 minutes. I did not
                           2425 Blucridge Ave Apt 204
03/ 16/2020-7:22 PM                                             receive a response. I marked the subject's front door and
                           Silver Spring, MD 20902              left the area. No additional informatio n provided. -
                                                                Attemoted bv Kion Lathan
                                                                I received a telepho ne ca ll from current resident, Saw
                                                                Yaw, at the address who stated the subject no longer
                           2425 Blucridge Ave Apt 204
03/16/2020-7:56 PM                                              resides at the address and does not have any forwa rding
                           Silver Spring, MD 20902              information. Mr. Yaw provided his telephone number of:
                                                                202-730-6929. - Attemoted bv Kion Lathan




~
Process Server
                                                                                                                  , D.C.
                                                                                                            14,2022




                                                                                                                    ...
                                                                                                     Internal Job ID:253 196
Same Day Proce ss Service, Inc.
1413 K St. , W, 7th Floor
V\lashington DC 20005
(202)-398-4200                                                                                                     .                      ,,_
info @samedayp rocess.com
                                                                                                      - - :-
                                                                                                                 ...                          .
                                                                                                      =
                                                                                                           --          _..,,,...,.
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                                                                                                      ':
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                                                                                                                     ..·    ;',   ·'

Requests for Investigat ive Due Diligence on a subject can always be expanded upon. There are occasions atJr;iwcwtt
                                                                                                                 iclt
a subject's current whereabouts can be found in the data compiled. The subject's true location, however, can be.
Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 10 of 11 PageID #: 521
                                  EXHIBIT D
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:18-cv-00604

                                                        PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (nam e of individual and title, if any)    __,_,
                                                                        !S.,,,AA.__.._.....,C..,_,B_,__E
                                                                                  ..._
                                                                                   R...,E
                                                                                     .......
                                                                                       Z~---------------
 was received by me on (date)                03/12/2020

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or
          -----------------------
           0 I left the summons at the individual's residence or usual place of abode with (nam e)
                                                                 , a person of suitable age and discretion who resides there,
          ------------~----
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (nam e of indi vidua l)                                                                  , who is
            designated by law to accept service of process on behalf of (nam e of organization)
                                                                                 on (date)                           ; or
          -----------------------
           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are $            0.00           for travel and $   85.00          for services, for a total of$          85.00
                                    ------                            ------


           I declare under penalty of perjury that this information is true.



 Date:      '3/Z.7I/
              I
                           'Z.L:>"?<)



                                                                                             ~~
                                                                                         Print ed nam e and title




 Additional information regarding attempted service , etc:
  I went to serve Isaac Berez on 03/ 13/2020 at 10705. I knocked on the door and Isaac's father answered. His name is Jacob.
  He said that his Son, Isaac was only 15 years old and was not available, and asked what I needed him for, I told him I had
  some legal documents for him . I spoke with Jacob about them for several minutes, and asked him to take service for his
  Son , Isaac. He declined, he said he would not take service, that Jacob was not available and that he would talk to him about
  the matter, he then asked me to leave his property which I did. I made a second attempt to serve Isaac Berez on 03/16 /2020
  I be! ieve that someone was in the home but would not answer the door. On 3/17/2020 both Oregon and Washington issued
  social distancing orders that would prohibit further in person service and have made no further attempts to serve.
Case 6:18-cv-00604-RWS-KNM Document 27-5 Filed 05/29/20 Page 11 of 11 PageID #: 522
                                  EXHIBIT D

AO 440 (Rev.01/09)Summonsin a CivilAction(Page2)

 CivilActionNo. 6 :lS -CV-00 604

                                               PROOFOF SERVICE
                   (Thissectionshouldnot befiled withthe courtunlessrequiredby Fed.R. Civ.P. 4 (l))

      Thissummonsfor(nameof individualand title, if any) MAN XIANG
                                                         -----------------------
wasreceived.by me on (date) 3/19/2020
                                    ---------
         ~   I personallyservedthe summonsonthe individualat (place) MAN XIANG
                                                                                -----------~----
        AT 560 COPPER DR. WILMINGTON , DE 19804                     on (date) 3/19/2020 .                      , or AT12 :20 PM
                                                                              -------
         0 I left the summonsat the individual'sresidenceor usualplaceof abodewith(name)
                                                                                              ---------
                                                       ' a personof suitableageanddiscretionwhoresidesthere,
        ---------------
         on (date)                           ' andmaileda_copyto the individual's
                                                                               .last knownaddress;or
                    -------                                ··•·.

         0 I servedthe summonson (nameof individual)                                                                  , whois
                                                                          ----------------
          designatedby lawto acceptserviceof processon behalfof (nameof organization)
                                                                                                 --------------
                                                                                0 n (date)

         0 I returnedthe summonsunexecutedbecause                                                                        , or
                                                                   -------------------
         ~   Other(specify):
                                  Description: Asian male approx 45, 5'6 170 lbs. with short black hair & balding.
                                  when asked for IP he refused .

         Myfeesare$                          for traveland$                      for services,for a totalof$

         I declareunderpenaltyof perjurythatthis informationis true.


Date: 3/19/2020
                                                           f        (/'               Server's signature

                                                         KEVIN S. DUNN               PROCESS SERVER
                                                                                    Printed name and title




                                                                                       Server's address

,Ad4itionaLlnf
             orJ71ation
                    ,.r.egarc4ng..attempted
                                       .ser.vic.e,-etc:




                              SWORN TO ON 3/19/2020
